
99 N.Y.2d 577 (2003)
THE PEOPLE OF THE STATE OF NEW YORK, Respondent,
v.
NICHOLSON MCCOY, Appellant.
Court of Appeals of the State of New York.
Decided January 21, 2003.
On or before March 31, 2003, pursuant to section 510.1 (b) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.1 [b]), appellant shall serve and file the requisite number of copies of a companion CD-ROM record on appeal.
March 31, 2003 is set as the date for appellant to file a periodic progress report. Appellant shall file additional periodic progress reports every two months thereafter until the filing of appellant's reply brief. Respondent shall file a periodic progress report on March 2, 2004.
On or before December 1, 2003, appellant shall file 15 copies of a brief and of the issue identification statement required by section 510.8 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.8 [c]), with proof of service.
On or before December 1, 2003, pursuant to section 510.11 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.11 [c]), the People shall file one copy of all transcripts and documents concerning any grand jury testimony or evidence and any decision attendant thereto.
February 2, 2004 is set as the date by which all motions for amicus curiae relief must be noticed to be heard. All such motions must conform to section 510.12 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.12 [c]).
On or before May 3, 2004, respondent shall file 15 copies of a brief responding to appellant and, as appropriate, amici curiae, with proof of service.
On or before July 2, 2004, appellant shall file 15 copies of a reply brief which shall also respond, as appropriate, to amici curiae, with proof of service.
Pursuant to section 510.1 (b) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.1 [b]), the parties and each amicus curiae shall serve and file the requisite number of *578 copies of a companion CD-ROM brief within 20 days after the filing of the printed version of the brief.
Issues regarding the proportionality or excessiveness of the sentence shall not be briefed by the parties to the appeal or any movants seeking amicus curiae relief until so directed by the Court of Appeals.
